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                              x
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Fill in this information to identify your case:

Debtor 1                      Luis R. Celis

Debtor 2                      Karen J. Celis
(Spouse, if filing)

United States Bankruptcy Court for the:        CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE
                                               DIVISION

Case number                                                                                                Check if this is:
(If known)                                                                                                 x An amended filing
                                                                                                           
                                                                                                            A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                  Employed
       attach a separate page with            Employment status
       information about additional                                  Not employed                                Not employed
       employers.
                                              Occupation
       Include part-time, seasonal, or
       self-employed work.                    Employer's name                                                     DBA Celis Lawn & Sprinkler Service

       Occupation may include student or Employer's address
       homemaker, if it applies.
                                                                                                                 20411 Avenida Hacienda, Riverside, CA 92508

                                              How long employed there?                                                     30 Years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                              non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $              0.00      $              0.00

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00      +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $           0.00             $       0.00




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
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Debtor 1
Debtor 2    Celis, Luis R. & Celis, Karen J.                                                        Case number (if known)



                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
      Copy line 4 here                                                                      4.          $              0.00     $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $               0.00
      5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $               0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $               0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $               0.00
      5e.    Insurance                                                                       5e.        $              0.00     $               0.00
      5f.    Domestic support obligations                                                    5f.        $              0.00     $               0.00
      5g.    Union dues                                                                      5g.        $              0.00     $               0.00
      5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                  0.00     $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $                  0.00     $               0.00
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00     $        1,890.00
      8b. Interest and dividends                                                             8b.        $              0.00     $            0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $          0.00         $               0.00
      8d. Unemployment compensation                                                          8d.        $          0.00         $               0.00
      8e.    Social Security                                                                 8e.        $        744.00         $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $                 0.00
      8g. Pension or retirement income                                                       8g. $                     0.00   $                 0.00
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $            744.00         $         1,890.00

10. Calculate monthly income. Add line 7 + line 9.                                         10. $             744.00 + $         1,890.00 = $           2,634.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.      +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.         $          2,634.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                          page 2
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
11801 Pierce Street, Suite 200, Riverside, CA 92505



A true and correct copy of the foregoing document entitled (specify): SUMMARY OF AMENDED SCHEDULES, MASTER
MAILING LIST, AND/OR STATEMENTS [LBR 1007-1(c)] will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
 05/08/2019         I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

   Valerie Smith - claims@recoverycorp.com
   Todd A. Frealy - taftrustee@lnbyb.com
   Christine Levi - bankruptcy@ondeck.com
   United States Trustee - ustpregion16.rs.ecf@usdoj.gov

                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) _______________, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 05/20/2019         John Alarcon                                                     /s/ John Alarcon
 Date                       Printed Name                                                    Signature


          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California

December 2015                                                         Page 2                              F 1007-1.1.AMENDED.SUMMARY
